         Case 1-20-40161-cec       Doc 22    Filed 04/28/20     Entered 04/29/20 10:42:58




                                                  1
UNITED STATES BANKRUPTCY COURT                                Return date/time: 4/21/20 at 11 AM
EASTERN DISTRICT OF NEW YORK                                  Case No. 1-20-40161-cec

In re:                                                        Hon. Carla E. Craig

                                                              Chapter 13
          WILBERT LAWRENCE,
                                                              ORDER REOPENING CASE AND
                                                              (CEC) VACATING STAY

Debtor.
__________________________________________

          Upon the application motion (CEC) of the Movant 1014 East 85 Street LLC to annul the

automatic bankruptcy stay and for an order declaring that the automatic stay in favor of the Debtor

be deemed annulled and vacated nunc pro tunc from the date of Debtor’s filing of the petition in

this case, and for an order that the mortgage foreclosure sale of the Debtor’s real estate located at

1014 East 85th Street, Brooklyn, NY be deemed valid nunc pro tunc, and the matter having come

on regularly to be heard before the U.S. Bankruptcy Court located at 271 Cadman Plaza East,

Brooklyn, New York, before the undersigned on April 21, 2020, at which time the Movant

appeared in support of said application, and the court having considered the matter then before it,

and due deliberation having been had thereon on April 21, 2020, and the Court having granted said

motion;

          Now on reading and filing of the affirmation of Paul Golden affirmed to on the 31st day of

March 2020, the Affidavit of Mohammed Moazeb, principal member of 1014 East 85 Street LLC

duly sworn to on the 31st day of March 2020, and the exhibits annexed thereto, it is, on motion of

Hagan Coury & Associates, attorneys for Movant:

          ORDERED, that this case is administratively reopened and the movant shall pay the

applicable fee; and it is further (CEC)
      Case 1-20-40161-cec        Doc 22     Filed 04/28/20     Entered 04/29/20 10:42:58




                                              2
        ORDERED, that the automatic stay in favor of the Debtor be deemed (CEC) annulled and

vacated nunc pro tunc from to (CEC) the date of Debtor’s filing of the petition in this case, and it

is further

        ORDERED and DECLARED, that that the mortgage foreclosure sale of the Debtor’s real

estate located at 1014 East 85th Street, Brooklyn, NY (which sale took place on January 9, 2020),

in the context of an action entitled U.S. Bank National Assoc. v Wilbert Lawrence, et al Supreme

Court of the State of New York, Kings County, Index 28095/07 be deemed valid nunc pro tunc;

and it is further (CEC)

        ORDERED, that this case shall be reclosed upon payment of the applicable fee to reopen.

(CEC)




                                                               ____________________________
 Dated: Brooklyn, New York                                             Carla E. Craig
        April 28, 2020                                         United States Bankruptcy Judge
